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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

BOSTON SCIENTIFIC CORPORATION, CIVIL ACTION NO.:1:13-cy-13 156
Plaintiff,
FIRST AMENDED
VS. COMPLAINT
DONGCHUL LEE, JURY TRIAL REQUESTED
Defendant.

 

Plaintiff Boston Scientific Corporation (“Boston Scientific”), for its Complaint

against Dongchul Lee (“Dr. Lee”), alleges as follows:
SUMMARY OF ALLEGATIONS

1. Boston Scientific hired Defendant Dongchul Lee in 2006 to work as a key
member of its neuromodulation research team, which is charged with developing
technologically-sophisticated neuromodulation devices, including spinal cord
stimulation (“SCS”) devices and peripheral nerve stimulation devices. These devices
are used to treat patients suffering from chronic pain. While he worked for Boston
Scientific, Dr. Lee used Boston Scientific’s trade secrets, proprietary research, and other
confidential information to research and develop innovative neuromodulation concepts,
with the goal of improving Boston Scientific’s SCS systems. Dr. Lee signed a contract
in which he promised that, if he left Boston Scientific, he would not use Boston
Scientific’s sensitive—and commercially valuable—trade secrets for any purpose other

than furthering Boston Scientific’s interests, and that he would not disclose that
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information to any other company. Dr. Lee has broken that promise. In October 2013
he resigned from Boston Scientific, without telling Boston Scientific what job he
intended to take next, but also stating that he planned to use the knowledge that he
developed at Boston Scientific in his future employment. Boston Scientific has now
learned that Dr. Lee is working for a competitor, Nevro Corporation, which develops
and sells SCS systems. Dr. Lee is now using Boston Scientific’s trade secrets—the very
information that Boston Scientific gave him and paid him to develop—to help Boston
Scientific’s competitor, in disregard of his contractual obligations. Boston Scientific
brings this lawsuit to protect its trade secrets, to stop Dr. Lee from using and disclosing
them, and to recover monetary damages for the harm that Dr. Lee’s unlawful actions

have caused.

PARTIES
2. Boston Scientific is a Delaware Corporation with its principal place of
business in Natick, Massachusetts.
3. Boston Scientific is one of the world’s largest manufacturers of medical

devices. Among other products, Boston Scientific develops, manufactures, distributes,
and sells neuromodulation devices, which are used therapeutically to treat patients
suffering from chronic pain.

4, Upon information and belief, defendant Dongchul Lee is a resident of

California whose last known address is 11163 Lewis Hill Drive, Agua Dulce, CA, 91390.

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JURISDICTION AND VENUE
5. Jurisdiction is proper under 28 U.S.C. Section 1332(a) because the matter
in controversy exceeds $75,000 and is between citizens of different states.
6. The Court has personal jurisdiction over Dr. Lee, and venue is proper in

this District because Dr. Lee has consented fo jurisdiction and venue in this District.

FACTS
The Neuromodulation Industry
7. This case involves the neuromodulation industry. Neuromodulation is the

broad term for medical therapies that alter neural function. These therapies can be used
in a variety of ways, but the most common is spinal cord stimulation which is used to
treat chronic, debilitating pain.

8. SCS delivers therapeutic doses of electrical current-to the spinal cord for
the management of pain. This is done by implanting a small, pulse-generating device in
the patient and connecting the device to wires, called “leads,” which are placed in
strategic locations in the epidural space near the spinal cord. The electrical current that is
generated and distributed can reduce, regulate, and, in some cases, eliminate chronic
pain.

9. Spinal cord stimulation and other neuromodulation therapies have
dramatically improved patients’ lives, and the market for neuromodulation devices and
treatments is expanding rapidly. The market is also very competitive. Boston Scientific
has devoted significant resources to studying neuromodulation therapies so that it can

better understand how they work and, in turn, develop increasingly better treatments.

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10. Scientists in the neuromodulation field are specifically studying the
“mechanism of action” for SCS, i.e., precisely how it works. In studying the mechanism
of action for SCS, scientists focus on three main factors that can influence the
effectiveness of SCS therapy: (1) the location and manner in which the leads are placed;
(2) the parameters within which the electrical stimulation is delivered to the patient; and
(3) the sensation that patients feel when receiving the therapy. Each of these factors can
be adjusted. Figuring out how each of these factors work—independently and in
conjunction with each other—is helping scientists understand the mechanism of action
for SCS therapy. This, in turn, helps researchers make SCS therapy more effective for
patients. Gaining a complete understanding of how these factors work together to affect
SCS therapy would be a significant development in the neuromodulation industry.

11. For example, many medical device companies and their scientists are
studying how adjustments to the sensation that ‘patients feel during SCS therapy
influences the overall effectiveness of the treatment. One sensation that many patients
feel during SCS therapy is a tingling feeling called “paresthesia.” Most patients feel that
the tingling sensation is useful, as evidence that the system is working. Other patients,
however, prefer to minimize the tingling effect. Scientists studying this aspect of SCS
have therefore been working on the ability to customize the sensation felt by patients
during SCS therapy to their preference. At the same time, scientists have been studying
the effect of sensation on the overall effectiveness of SCS therapy.

12. Many neuromodulation companies, including Boston Scientific and its

competitors (including Medtronic, St. Jude Medical, and Nevro Corporation) are working

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on various approaches to understand the mechanism of action for SCS therapy. Many
different approaches are being explored to optimize this therapy for patients. For
example, Nevro Corporation has researched and produced a product that uses a “high
frequency” electrical current, instead of the more conventional frequency currents used
by other companies. Another company, St. Jude, recently announced that it would test a
different form of SCS called “burst stimulation.”

13. Companies like Boston Scientific devote considerable resources to this
' research, and therefore guard the products of their research very carefully. Because the
mechanism of action for SCS is influenced by several factors, each additional previously-
unknown piece of information that a company can obtain brings that company closer to a
breakthrough in SCS therapy.

While At Boston Scientific, Dr. Lee Used And Developed Boston Scientific’s
Proprietary And Trade Secret Information

14. Boston Scientific hired Dr. Lee in 2006 as a senior biomedical system
engineer. In 2010, Dr. Lee was promoted to Principal Research Scientist.

15. Throughout Dr. Lee’s tenure at Boston Scientific, the company invested
significant resources in training him and supporting his development as a research
scientist. This support included making introductions to leading physicians and scientists
who conduct groundbreaking research in neuromodulation. Boston Scientific provided
Dr. Lee with the extensive financial and technical support necessary to develop expertise

in technical areas that were essential to his work.

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16. As part of Dr. Lee’s work for Boston Scientific, the company gave him
access to its confidential, proprietary, and trade secret information on a regular basis, and
he used this information to develop and expand his knowledge of SCS technology. Dr.
Lee would not have been able to do this work, and obtain the research results that he did,
without Boston Scientific’s financial and technical support. Dr. Lee used Boston
Scientific’s trade secrets in several technical areas.

17. The first key area in which Dr. Lee obtained and worked with Boston
Scientific’s trade secrets and confidential information was in the company’s study of the
mechanism of action for SCS. This included studying how making adjustments to certain
factors can alter the overall effectiveness of SCS therapy.

18. Boston Scientific asked Dr. Lee to lead a research effort that studied the
sensations that patients feel during SCS therapy. This research gave Dr. Lee important
information about customizing SCS sensations to a patient’s specific preferences, Boston
Scientific invested significant resources in Dr. Lee’s project, and regarded it as one of the
company’s top priorities.

19. This assignment gave Dr. Lee a unique understanding of how Boston
Scientific developed relevant hypotheses, which hypotheses were pursued, how they were
pursued, which hypotheses were abandoned, and the reasons why. Boston Scientific also
invested significant resources to fund collaboration on early-stage feasibility trials that
were focused on understanding the mechanism of action for SCS. In his role at Boston
Scientific, Dr. Lee developed and contributed to these studies. This research, funded by

Boston Scientific, used and led to the creation of confidential, proprietary, and trade

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secret information related to the study of SCS and its mechanism of action. For example,
these studies uncovered, for the first time, the role of certain SCS parameters in
delivering therapy.

20. Boston Scientific has worked to protect this confidential, proprietary, and
trade secret information by requiring its employees to treat the information with the
strictest of confidentiality. Boston Scientific has also required outside researchers who
worked with Dr. Lee to sign non-disclosure agreements regarding the contents and results
of their collaboration with Boston Scientific and Dr. Lee.

21. The confidential, proprietary, and trade secret information that Dr. Lee
developed and used at Boston Scientific has significant commercial value. [f this
information is revealed to Boston Scientific’s competitors, those other companies would
obtain, practically for free, the benefit of Boston Scienttfic’s years of research and the
significant financial investment that Boston Sciéntific made in Dr. Lee’s work. As a
result, Boston Scientific’s competitors could use that information to advance their own
programs immediately, and without additional investment.

22. The second area in which Dr. Lee was exposed to Boston Scientific’s
confidential, proprietary, and trade secret information relates to computer modeling of the
human nervous system. Boston Scientific uses computer modeling as an essential tool in
developing effective neuromodulation therapy. The more precise a model, the more
effectively that a device using that model can deliver new SCS therapies. Innovative
SCS therapies therefore demand highly sophisticated modeling of the nervous system.

While at Boston Scientific, Dr. Lee developed extensive expertise in computer modeling,

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using information that Boston Scientific provided him, and that he developed through
Boston Scientific-funded clinical research that he performed. Through this work, Dr. Lee
developed confidential and trade secret techniques and information that are the property
of Boston Scientific, and that would be very valuable to Boston Scientific’s competitors.

23. The third area in which Dr. Lee was exposed to Boston Scientific
confidential, proprietary, and trade secret information relates to the development of
unique algorithms used in programming SCS systems. Historically, SCS devices have
required frequent adjustment to provide patients with effective therapy. These
adjustments are typically done manually by a doctor or technician working with a patient
on a trial-and-error basis. But Boston Scientific has developed sophisticated computer
algorithms used in a programmable SCS system that simplifies adjustment and reduces
the amount of time that physicians need to spend customizing ‘the program for each
patient. It also delivers specific therapy customized to the patient’s unique needs, which
improves the patient’s therapy. As a Boston Scientific employee, Dr, Lee worked
extensively on developing these algorithms and, in the process, Dr. Lee developed
detailed knowledge regarding Boston Scientific’s trade secrets. This information would
be very valuable to Boston Scientific’s competitors.
Dr. Lee’s Agreement With Boston Scientific

24. As part of his employment with Boston Scientific, on October 21, 2009, Dr.
Lee signed a Boston Scientific Corporation Agreement Concerning Employment for U.S.

Employees (the “Agreement’).

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25. In Section 1 of the Agreement, Dr. Lee agreed that during his employment
with Boston Scientific, he “may have access to or learn of confidential or proprietary
information of Boston Scientific.”

26. Section 3(a) of the Agreement provides that Boston Scientific developed or
acquired Proprietary Information, which the Agreement defines as:

information that is valuable to Boston Scientific and not generally
known to its competitors or the public, including but not limited to
materials and information (whether or not reduced to writing) relating
to its operating procedures, products, methods, service techniques,
designs, specifications, trade secrets, cost data, profits, markets and
sales, customer lists, plans for present and future research,
development and marketing. . . .

27. In Section 3(b) of the Agreement, Dr. Lee acknowledged that he would
receive Proprietary Information during his employment with Boston Scientific, and that
Boston Scientific “would not permit [Dr. Lee] to have access to Proprietary Information
but for [his] promises in this Agreement.” Dr. Lee further agreed “that the Proprietary
Information is and will be the exclusive property of Boston Scientific.”

28. In Section 3(c) of the Agreement, Dr. Lee agreed that he would not, during
or after his employment with Boston Scientific, “disclose any Proprietary Information to
any person other than personnel authorized by Boston Scientific.” He further agreed not
to use Boston Scientific’s Proprietary Information “for personal benefit or for any
purpose other than furthering the legitimate business interests of Boston Scientific.”

29. In Section 3(d) of the Agreement, Dr. Lee agreed that if his employment

with Boston Scientific terminated for any reason, he would “immediately deliver to

Boston Scientific all property owned by Boston Scientific.”

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30. Dr. Lee agreed, in Section 14 of the Agreement, that if he were to breach
the Agreement, Boston Scientific would suffer “substantial and irrevocable damage,” and
_ would therefore be entitled to “specific performance and other injunctive relief.” .

31. Dr. Lee also agreed that if he violates any of his obligations under the
Agreement, he shall, in addition to any other remedies, pay Boston Scientific all
reasonable attorney’s fees and court costs that it incurs in enforcing its rights under the
Agreement.

32. Section 18 of the Agreement contains a choice-of-law provision, which
provides that the Agreement “shall be interpreted and enforced as a Massachusetts
contract and shall be interpreted and enforced in accordance with the internal laws of the
Commonwealth of Massachusetts without regard to its conflict of law rules.”

33. Section 18 of the Agreement also contains a- venue-selection and
jurisdiction provision, which provides that “any action concerning the Agreement shall be
commenced exclusively in the courts (including the Federal Courts) in either (i) the
Commonwealth of Massachusetts or (ii) the state of the Employee’s last. . . primary
work location for Boston Scientific.”

Dr. Lee Quits Boston Scientific And Goes To Work For A Direct Competitor

34. On or about October 5, 2013, Dr. Lee announced that he was resigning
from his position with Boston Scientific. Despite being asked repeatedly whether he had
accepted another job—and with what company—Dr. Lee would not provide Boston

Scientific with any details.

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35. At an exit interview on or about October 18, 2013, Boston Scientific asked
Dr. Lee if, in his next job, he planned to continue working on the mechanism of action for
SCS, an area he worked on at Boston Scientific. In response, Dr. Lee said something to
the effect of, “What else would I do? That’s what I know.”

36. As part of his exit process, Dr. Lee participated in a separate exit interview
with several senior employees of Boston Scientific that was devoted exclusively to his
duties under the Agreement. During this meeting, Dr. Lee was reminded of the specific
obligations of the Agreement regarding Proprietary Information. He was also told that he
may not be able to accept certain jobs with other companies because those jobs would
necessarily entail disclosure of the Proprietary Information that, in the Agreement, he
promised to protect.

37. Dr. Lee was given a letter, dated October 18, 2013, from Lisa Welker-
Finney, Boston Scientific Neuromodulation’s Vice President for Human Resources, that
again reminded him of his obligations under the Agreement. Ms. Welker-Finney, who
participated in the meeting, told Dr. Lee that if, at any point in the future, he had
questions about the scope of his obligations under the Agreement, he could feel free to
contact her. Boston Scientific also offered to engage Dr. Lee as a consultant until he
found alternative employment.

. Dr. Lee Takes Thousands of Boston Scientific’s Documents and Accesses Them
After He Begins Working for Nevro

38. On November 8, 2013, Dr. Lee began working for Boston Scienttfic’s

competitor, Nevro Corporation, as a Director of Clinical Research.

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39. When Dr. Lee left Boston Scientific, he took thousands of Boston
Scientific’s documents with him on USB drives, hard drives, and online storage sites like
DropBox and Google Drive.

40. The documents Dr. Lee took from Boston Scientific include Proprietary
Information and trade secrets.

41. In the two days before Dr. Lee left Boston Scientific (October 16 and 17,
2013) approximately 20,000 files were deliberately copied from Dr. Lee’s Boston
Scientific laptop to his personal hard drive.

42. After Dr. Lee began working for Nevro, he accessed documents contaming
Boston Scientific’s Proprietary Information and trade secrets. For example, on November
20, 2013 and December 11, 2013 Boston Scientific documents were accessed from Dr.
Lee’s USB drives, including a highly confidential research study protocol and

unpublished research data (containing confidential patient information).

Boston Scientific’s Competitors Stand to Benefit Greatly from Dr. Lee’s Knowledge

 

of Boston Scientific’s Trade Secrets

43. Discovering the knowledge that Dr. Lee obtained in his SCS-related
research would be an extremely valuable breakthrough for any company in the field of
neuromodulation.

44, Nevro is a medical device company that specializes in SCS therapy.

Nevro manufactures and markets an SCS system called “Senza®.”

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45. Nevro promotes Senza®’s alternative ability to deliver SCS therapy. The
U.S. Food and Drug Administration (“FDA”) has not approved Nevro’s Senza® product
for sale in the United States, though it has been approved in Europe and Australia. On
information and belief, Nevro anticipates gaining FDA approval and releasing the
Senza® system in the United States in 2014.

46. In addition to his knowledge about Boston Scientific’s research regarding
the mechanism of action for SCS, computer modeling of the nervous system, and the
algorithms for programming SCS systems, Dr. Lee possesses a significant amount of
competitively-sensitive knowledge of Boston Scientific’s confidential scientific and
technical plans to compete with Nevro’s Senza® system in the United States.

47. ‘The competitive information that Dr. Lee knows would be very valuable to
Nevro (and to other companies against which Boston Scientific may compete on similar
bases). The disclosure of this information would be profoundly damaging to Boston
Scientific’s neuromodulation business, and would cause Boston Scientific irreparable
harm.

Dr, Lee’s Work with Nevro Violates The Agreement And Massachusetts Law

48. On information and belief, before hiring Dr. Lee, Nevro did not possess the
level of understanding that Boston Scientific possesses about the mechanism of action for
SCS therapy, or the related areas of computer modeling of the nervous system and
developing algorithms for programming SCS systems.

49. Upon information and belief, Dr. Lee is currently providing services for

Nevro in a capacity that requires him to assist in computer modeling of the human

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nervous system, developing algorithms for use in programming neuromodulation
systems, and/or identifying the mechanism of action for SCS therapy.

_50, In performing his duties at Boston Scientific, Dr. Lee was exposed to or
himself developed Boston Scientific’s proprietary and confidential information on these
topics. Because Nevro lacks independent knowledge of the proprietary and trade secret
information to which Dr. Lee was exposed or that he developed while employed by
Boston Scientific, his work for Nevro in this capacity necessarily involves the misuse,
and improper disclosure, of that information.

51. Further, by taking and accessing documents containing Boston Scientific’s
proprietary trade secrets after leaving his job at Boston Scientific, Dr. Lee has improperly
used and disclosed Boston Scientific’s Proprietary Information in violation of his
contractual duties and Massachusetts law.

52. By engaging Dr. Lee’s services in these capacities, Nevro has obtained and
will continue to obtain the benefits of the Boston Scientific’s proprietary and trade secret
information.

53. As a result, Dr. Lee has improperly disclosed Boston Scientific’s
confidential and proprietary trade secrets.

COUNT ONE
Breach of Contract: Inevitable Disclosure

54. Boston Scientific restates and realleges al] previous paragraphs.
55. Dr. Lee’s work with Nevro necessarily entails his disclosure of Proprietary

Information (as that term is defined in Dr, Lee’s Agreement with Boston Scientific) to

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persons not authorized by Boston Scientific, and also necessarily entails use of
Proprietary Information for purposes other than furthering the legitimate business
interests of Boston Scientific.

56. Dr. Lee therefore breached his Agreement. .

57. Boston Scientific has been irreparably harmed by this breach.

58. Boston Scientific has also been damaged in an amount exceeding
$75,000.00 to be determined at trial.

COUNT TWO
Breach of Contract: Taking Boston Scientific’s Documents

59. Boston Scientific restates and realleges all previous paragraphs.

60. Dr. Lee did not immediately return all property owned by Boston Scientific to
Boston Scientific upon termination of his employment. Instead, he took thousands of
Boston Scientific’s documents, including documents containing Proprietary Information
and trade secrets.

61. Dr. Lee therefore breached his Agreement.

62. Boston Scientific has been irreparably harmed by this breach.

63. Boston Scientific has also been damaged in an amount exceeding $75,000.00

to be determined at trial.

 

 

COUNT THREE
Breach of Contract: Use and Disclosure of Boston Scientific’s Proprietary
Information

64. Boston Scientific restates and realleges all previous paragraphs.

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65. Dr. Lee accessed documents containing Boston Scientific’s Proprietary
Information and trade secrets after his employment with Boston Scientific ended and his
employment with Nevro began. In doing so, Dr. Lee used Boston Scientific’s Proprietary
Information and trade secrets for purposes other than furthering Boston Scientific’s
legitimate business interests. In doing so, Dr. Lee also disclosed Boston Scientific’s
Proprietary Information and trade secrets to Nevro.

66. Dr. Lee therefore breached his Agreement.

67. Boston Scientific has been irreparably harmed by this breach.

68. Boston Scientific has also been damaged in an amount exceeding $75,000.00
to be determined at trial.

COUNT FOUR
Violation of Massachusetts Trade Secret Protection Act

69. Boston Scientific restates and realleges all previous paragraphs.

70. Boston Scientific’s confidential and proprietary information regarding
computer modeling of the human nervous system, algorithms for use in programming
neuromodulation systems, and the mechanism of action for SCS and related research
constitute trade secrets as defined by Mass. Gen. Laws ch. 266, section 30.

71. Dr. Lee has unlawfully obtained Boston Scientific’s trade secrets with the
intent to convert the trade secrets to his own use, in violation of the terms of the written
employment agreement between Boston Scientific and Dr. Lee, and in violation of Mass.

Gen. Laws ch. 93, section 42.

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72. Dr. Lee has used and disclosed Boston Scientific’s trade secrets in violation
of Massachusetts law.

73. By virtue of this violation, Boston Scientific is entitled to a preliminary
injunction under Mass. Gen Laws ch. 93, 42A.

PRAYER FOR RELIEF

WHEREFORE, plaintiff Boston Scientific Corporation respectfully asks the
Court to:

1, Enter judgment against Dongchul Lee for all damages proximately caused
by his wrongful actions and costs available under the law.

2. Enter judgment against Dongchul Lee, requiring him to pay Boston
Scientific’s costs and attorneys’ fees in enforcing Boston Scientific’s rights under the
employment agreements at issue in this action.

3. Issue an injunction preventing Dongchul Lee from performing work for any
other company in any capacity related to computer modeling of the human nervous
system to the extent that such work discloses Boston Scientific’s Proprietary Information,
developing algorithms for use in programming neuromodulation systems, or discovering
the mechanism of action for SCS.

4, Issue an order that the above-requested relief be binding upon Dongchul
Lee and his affiliates, successors and assigns, agents, servants, employers, employees,
representatives, attorneys, and persons in active concert or participation with any of them.

5. Order all other relief that the Court deems proper and just.

DEMAND FOR JURY TRIAL

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Plaintiff hereby demands a jury trial! on all issues in this action.

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Dated: July 16, 2014

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CERTIFICATE OF SERVICE

I certify that a true copy of this document filed through the ECF system will be
sent electronically by the ECF system to the registered participants as identified on the
Notice of Electronic Filing (NEF) on July 17, 2014.

/s/Patrick M. Curran, Jr.
Patrick M. Curran, Jr.

 

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